                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION

EQUAL EMPLOYMENT                                 )
OPPORTUNITY COMMISSION,                          )
                                                 )    CIVIL ACTION NO.: 1:22-cv-00049
                      Plaintiff,                 )
                                                 )
              v.                                 )    COMPLAINT
                                                 )
NORTH GEORGIA FOODS, INC. D/B/A                  )    JURY TRIAL DEMAND
BURGER KING                                      )
                                                 )
                      Defendant.                 )
                                                 )

                                   NATURE OF THE ACTION

       This action is filed pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e

et seq., as amended ("Title VII"), the Pregnancy Discrimination Act of 1978, 42 U.S.C. § 2000e(k)

("PDA") and Title I of the Civil Rights Act of 1991, 42 U.S.C. §1981a, to correct unlawful

employment practices on the basis of sex and to provide appropriate relief to Tiffany Smith (“Ms.

Smith”), who was adversely affected by such practices. Plaintiff Equal Employment Opportunity

Commission (the “Commission”) alleges that Defendant, North Georgia Foods, Inc. d/b/a Burger

King (“Defendant”) unlawfully discriminated against Ms. Smith by subjecting her to a hostile

work environment based on her sex, female. The Commission further alleges that Defendant

retaliated against Ms. Smith for opposing the unlawful conduct when it reduced the number of

hours she was scheduled to work, terminated her employment and later refused to reinstate her

employment. Alternatively, the Commission alleges that Defendant discriminated against Ms.

Smith on the basis of pregnancy when it reduced the number of hours Ms. Smith was scheduled to

work, terminated her employment and later failed to reinstate her employment.




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                                JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337, 1343

and 1345. This action is authorized and instituted pursuant to Sections 706(f)(l) and (3) of Title

VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-5(f)(l) and (3), the Pregnancy

Discrimination Act of 1978, 42 U.S.C. § 2000e-(k), and pursuant to Section 102 of the Civil Rights

Act of 1991, 42 U.S.C. § 1981a.

       2.      The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Western District of North Carolina,

Asheville Division.

                                            PARTIES

       3.      The Commission is the agency of the United States of America charged with the

administration, interpretation and enforcement of Title VII, and is expressly authorized by Title

VII to bring this action. 42 U.S.C. § 2000e-5(f)(l) and (3); 42 U.S.C. § 2000e-(k).

       4.      Defendant, a Georgia corporation, operates multiple fast food restaurants in

Georgia and North Carolina, including a Burger King in Murphy, North Carolina.

       5.      At all relevant times, Defendant has continuously done business in the State of

North Carolina and in Cherokee County, North Carolina and has continuously maintained at least

fifteen (15) employees.

       6.      At all relevant times, Defendant has continuously been an employer engaged in an

industry affecting commerce under Sections 701(b), (g) and (h) of Title VII. 42 U.S.C. §§

2000e(b), (g) and (h).

                             ADMINISTRATIVE PROCEDURES

       7.      More than thirty (30) days prior to the institution of this lawsuit, Ms. Smith filed a




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charge with the Commission alleging violations of Title VII and the PDA by Defendant.

Defendant responded to Ms. Smith’s charge and participated in all aspects of the Commission’s

administrative investigation.

       8.         By letter dated September 29, 2020, the Commission notified Defendant of the

determination that the Commission had reasonable cause to believe that Defendant violated Title

VII and the PDA. The Commission invited Defendant to engage in the conciliation process to

attempt to reach an agreement that would end the unlawful employment practices and provide Ms.

Smith with appropriate relief.

       9.         The Parties engaged in conciliation but were unable to reach an agreement acceptable

to the Commission.

       10.        By letter dated December 18, 2020, the Commission notified Defendant that

conciliation had failed.

       11.        All conditions precedent to the institution of this lawsuit have been fulfilled.

                                     STATEMENT OF CLAIMS

                                        COUNT I:
              Sex Harassment and Hostile Environment in Violation of Title VII

       12.        On or about August 1, 2018, Defendant hired Ms. Smith as a Team Member at

Defendant’s Burger King restaurant in Murphy, North Carolina.

       13.        Throughout Ms. Smith’s employment, Defendant subjected Ms. Smith to a hostile

work environment based on her sex, female, in violation of Section 703(a) of Title VII, 42 U.S.C.

2000(e)-(2)(a).

       14.        Specifically, Defendant knowingly allowed Ms. Smith to be sexually harassed by a

male assistant manager ("Assistant Manager One").

       15.        Assistant Manager One did not have decision-making authority over Ms. Smith's



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employment but was often the highest-ranking employee on site and was often scheduled to work

alone with Ms. Smith.

       16.     This apparent authority and unfettered access to Ms. Smith allowed Assistant

Manager One the opportunity to prey upon Ms. Smith during her employment.

       17.     The harassment Ms. Smith experienced by Assistant Manager One included vulgar

sexual comments, threatening behavior and the unwelcome groping and touching of Ms. Smith's

female anatomy.

       18.     Harassing statements made to Ms. Smith by Assistant Manager One include, but

are not limited to:

               a.       "When are you going to let me lick that p***y so I know how you
                        taste"

               b.       Asking if she could “handle something as big” as the milkshake
                        machine spigot so he could make her “take it from behind” while he
                        was “f***ing [her] from the front.”

       19.     Examples of unwanted groping and touching of Ms. Smith by Assistant Manager

One include but are not limited to:

               a.              Approaching Ms. Smith from behind and pressing his penis against
                               her buttocks;

               b.              Isolating Ms. Smith in part of the restaurant and grabbing, rubbing,
                               or pinching her nipple, vagina, and/or buttocks.

       20.     Examples of threatening conduct by Assistant Manager One toward Ms.

Smith include but are not limited to:

               a.              Threatening Ms. Smith that if she informed management about his
                               comments or conduct, Ms. Smith would be terminated.

               b.              Threatening to get Ms. Smith's home address from Defendant's
                               computer.

       21.     Assistant Manager One made sexual comments and/or touched Ms. Smith in a



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sexual manner at least once a week throughout her employment.

       22.     On several occasions, Assistant Manager One abused his position of authority by

causing Ms. Smith to believe that he needed to speak with her about a work matter in order to get

her alone and in a location where he could prey upon her.

       23.     Ms. Smith always objected to the offensive behavior by telling Assistant Manager

One not to talk to her like that, by telling him to leave her alone, or by leaving the area.

       24.     Ms. Smith complained to Defendant about Assistant Manager One's harassing

conduct on multiple occasions by reporting the conduct to a female assistant manager (“Assistant

Manager Two”).

       25.     Ms. Smith also requested that Assistant Manager Two change her schedule so that

Ms. Smith would not be left alone with Assistant Manager One during the early morning hours of

the opening shift.

       26.     Assistant Manager Two did not change her schedule, however on more than one

occasion, Assistant Manager Two advised Ms. Smith that she would inform the general manager

about Assistant Manager One’s harassment of Ms. Smith.

       27.     On at least one occasion, Assistant Manager Two advised Ms. Smith to report the

conduct to the general manager.

       28.     Ms. Smith was afraid to report the conduct directly to the general manager because

she believed that the general manager would respond in a hostile manner and defend the harasser.

       29.     Defendant failed to take any action to stop the harassment or to ensure that Ms.

Smith was not required to work alone with Assistant Manager One.

       30.     The harassment continued.

       31.      In or around April 2019, Ms. Smith again complained of sexual harassment by




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Assistant Manager One to Assistant Manager Two. On this final occasion, Assistant Manager

Two stated she had “done all she could do.”

       32.     The sexually explicit comments and/or conduct described herein created a hostile

work environment for Ms. Smith because of her sex, female.

       33.     The harassment was severe and pervasive. It altered the terms and conditions of

Ms. Smith's employment and created an abusive work environment.

       34.     Defendant's policies and procedures were ineffective to prevent and/or correct the

harassment.

       35.     Defendant knew or should have known of Assistant Manager One’s sexual

harassment of Ms. Smith but failed to take prompt and effective action to stop it.

       36.     The effect practices complained of above have deprived Ms. Smith of equal

employment opportunities and have otherwise adversely affect her status as an employee, because

of her sex, female.

       37.     The unlawful employment practices complained of above were willful and

intentional.

       38.     The unlawful employment practices complained of above were committed with

malice or, at a minimum, with reckless indifference to Ms. Smith’s federally protected rights.

       39.     As a direct and proximate result of Defendant's violation of Title VII, Ms. Smith

suffered actual damages including but not limited to back pay, front pay, losses in compensation

and benefits, humiliation, emotional distress, and loss of enjoyment of life.

                                           COUNT II:
                               Retaliation in Violation of Title VII

       40.     The Commission re-alleges and incorporates by reference the allegations set forth

in paragraphs 12 through 39 above.



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        41.    Beginning as early as April 2019, Defendant engaged in unlawful employment

practices in violation of Section 704 of Title VII, 42 U.S.C. § 2000e-3(a) by retaliating against Ms.

Smith for engaging in protected conduct.

        42.    Ms. Smith engaged in statutorily protected conduct on multiple occasions when she

complained of sexual harassment and reported the hostile work environment to Defendant through

Assistant Manager Two.

        43.    Approximately a week after Ms. Smith's last complaint to Assistant Manager Two,

to which Assistant Manager Two responded by telling Ms. Smith that she had "done all she could

do," Defendant began systematically reducing Ms. Smith's scheduled work hours until she was

finally removed from the scheduled altogether in June 2019.

        44.    As a result, Ms. Smith experienced a significant loss of income and her employment

was effectively terminated after the week of June 12, 2019.

        45.    When Ms. Smith inquired about the reduction of hours, Assistant Manager Two

told Ms. Smith that her hours were cut because she did not want to work with Assistant Manager

One.

        46.    After Ms. Smith learned that she was completely removed from the schedule, she

called the store and texted the general manager on several occasions but no one returned her calls.

        47.    Ms. Smith filed a charge of discrimination with the Commission in July of 2019.

        48.     In late July 2019, after filing the charge of discrimination, Ms. Smith gave birth

prematurely.

        49.    In September 2019, when Ms. Smith was released to return to work after the birth

of her child, Ms. Smith sent two text messages to the general manager in an attempt to return to

work. One asking for an email address for the medical release, and another with a copy of the




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release. Her text messages went unanswered.

       50.      The general manager admitted to the Commission that she received the text

messages from Ms. Smith and stated that she did not respond because she believed she needed to

consult with Defendant's attorney because Ms. Smith had filed a charge of discrimination with the

EEOC. The general manager stated that the lawyer never responded to her, so she never responded

to Ms. Smith.

       51.      Ms. Smith was not considered for reinstatement because she filed a charge of

discrimination with the EEOC.

       52.      The unlawful employment practices complained of above were intentional.

       53.      The unlawful employment practices complained of above were done with malice

or with reckless indifference to the federally protected rights of Ms. Smith.

       54.      The practices complained of above have deprived Ms. Smith of equal employment

opportunities and have otherwise adversely affected her status as an employee because of her

engagement in protected activity.

       55.      As a direct and proximate result of Defendant's violation of Title VII, Ms. Smith

suffered actual damages including but not limited to back pay, front pay, losses in compensation

and benefits, humiliation, emotional distress, and loss of enjoyment of life.

                            COUNT III (Alternative to Retaliation):
                       Pregnancy Discrimination in Violation of Title VII

       56.      The Commission re-alleges and incorporates by reference the allegations set forth

in paragraphs 12 through 55 above.

       57.      Defendant unlawfully discriminated against Ms. Smith because of her pregnancy

in violation of Section 703 of Title VII, 42 U.S.C. § 2000e-2 and the Pregnancy Discrimination

Act of 1978, 42 U.S.C. § 2000e-(k). by terminating her employment and later failing to reinstate



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Ms. Smith because of her pregnancy, a condition of her sex, female.

       58.     In or around January 2019, Ms. Smith informed Defendant that she was pregnant

and that her estimated due date was in September 2019.

       59.     Ms. Smith also informed Defendant that she intended to work until her due date.

       60.     At no time during her employment did Ms. Smith request pregnancy-related leave

or maternity leave, or otherwise suggest that she would need time off prior to her due date.

       61.     Nevertheless, in April 2019, the general manager informed Ms. Smith she needed

to begin training a replacement in anticipation of Ms. Smith going on maternity leave. Ms. Smith

responded she was not going on maternity leave “anytime soon.”



       62.     Upon information and belief, the general manager told the other employees that

Ms. Smith was on pregnancy-related leave when she did not return to work after being removed

from the schedule.

       63.     Ms. Smith gave birth prematurely on July 22, 2019. She was released to return to

work without restrictions in September 2019.

       64.     Ms. Smith sent the medical release clearing her for return to work to the general

manager by text but never received a response.

       65.     Defendant's actions of requiring Ms. Smith to train a replacement for maternity

approximately five months prior to her due date show that Defendant considered Ms. Smith's

pregnancy to be an impediment to her employment.

       66.     Defendant's actions of reducing Ms. Smith's scheduled work hours are

discriminatory and motivated by her pregnancy.

       67.     Defendant's actions of discharging Ms. Smith by removing her from the work




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schedule are discriminatory and motivated by her pregnancy.

       68.     Defendant's actions of refusing to communicate with Ms. Smith and refusing to

allow her to return to work are discriminatory and based on her pregnancy.

       69.     The unlawful employment practices complained of were intentional.

       70.     The unlawful employment practices complained of were done with malice or with

reckless indifference to the federally protected rights of Ms. Smith.

       71.     The practices complained of above have deprived Ms. Smith of equal employment

opportunities and to otherwise adversely affected her status as an employee because of her

pregnancy, a condition of her sex (female).

       72.     As a direct and proximate result of Defendant's unlawful conduct, Ms. Smith

suffered actual damages including but not limited to back pay, front pay, losses in compensation

and benefits, humiliation, emotional distress, and loss of enjoyment of life.

                                     PRAYER FOR RELIEF

       Wherefore, the Commission respectfully requests that this Court:

       A.      Grant a permanent injunction enjoining Defendant, its officers, agents, servants,

employees, attorneys, and all persons in active concert or participation with Defendant, from

discriminating on the basis of sex from engaging in unlawful employment practices which

discriminate on the basis of sex in violation of Title VII, 42 U.S.C. § 2000e(k) et seq., and Title

VII, 42 U.S.C. § 2000e-2(a) and for opposing such unlawful employment practices;

       B.      Order Defendant to institute and carry out policies, practices, and programs which

provide equal employment opportunities for females, pregnant persons, for persons who engage

in protected activity under Title VII, and which eradicate the effects of past and present unlawful

employment practices.




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        C.       Order Defendant to make Tiffany Smith whole by providing appropriate backpay

with prejudgment interest, in amounts to be determined at trial, and other affirmative relief

necessary to eradicate the effects of its unlawful employment practices, including, but not limited

to, front pay.

        D.       Order Defendant to make Tiffany Smith whole by providing compensation for past

and future pecuniary losses resulting from the unlawful employment practices describe above, in

amounts to be determined at trial.

        E.       Order Defendant to make Tiffany Smith whole by providing compensation for past

and future nonpecuniary losses resulting from the unlawful practices complained of above,

including, but not limited to, emotional suffering, inconvenience, humiliation, loss of enjoyment

of life, loss of self-esteem and loss of civil rights, in amounts to be determined at trial.

        F.       Order Defendants to pay to Tiffany Smith punitive damages for its willful,

malicious and/or reckless conduct, as described above, in amounts to be determined at trial.

        G.       Grant such further relief as the Court deems necessary and proper in the public

interest.

        H.       Award the Commission its costs of this action.

                                     JURY TRIAL DEMAND

        The Commission requests a jury trial on all questions of fact raised by its complaint.


        Respectfully submitted this 7th day of March, 2022.

                                                U.S. EQUAL EMPLOYMENT
                                                OPPORTUNITY COMMISSION

                                                CHRISTOPHER LAGE
                                                Deputy General Counsel
                                                EQUAL EMPLOYMENT OPPORTUNITY
                                                COMMISSION



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